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                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                           WESTERN DIVISION
 BEVERLY SPENCER, et al.,                )
                                         )
         Plaintiffs,
                                         )
   vs.                                   )          7:16-cv-01334-LSC
                                         )
 SHERIFF JONATHAN
                                         )
 BENISON, et al.,
                                         )
         Defendants.                     )


                           MEMORANDUM OF OPINION

      Plaintiffs Beverly Spencer (“Spencer”), C.B.S. Properties, LLC (“CBS”),

and B & V Wrecker Service, Inc. (“B&V”) (collectively “Plaintiffs”) bring this

action against Defendants Sheriff Jonathan Benison (“Sheriff Benison”), in

his individual capacity and in his official capacity as Sheriff of Greene County;

D.R.EA.M., Inc. (“DREAM”); Bell Mere Properties, LLC (“Belle Mere”);

Accuity Capital Group, LLC (“Accuity”); Bernard Gomez (“Gomez”); and Ché

D. Williamson (“Williamson”) (collectively “Defendants”), alleging claims

under 42 U.S.C. §§ 1983 and 1985 and state law. Before the Court are

Sheriff Benison’s Motion for Summary Judgment (doc. 43), Motion for

Reimbursement of Fees & Costs (doc. 47), and Motion to Strike (doc. 57).

The motions have been briefed and are ripe for review. For the reasons


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stated below, Sheriff Benison’s Motion for Summary Judgment (doc. 43) is

due to be denied; his Motion for Reimbursement of Fees & Costs (doc. 47)

is due to be denied; and his Motion to Strike (doc. 57) is due to be granted.1

    I.     BACKGROUND 2

         In April 2011, Defendant Belle Mere, acting through Gomez and

Williamson, purchased real estate in Greene County, Alabama from Plaintiff

CBS, acting through Spencer. As part of the sale, CBS agreed to grant Bell

Mere a twenty-five foot easement running from CBS’s adjacent property.

Belle Mere then leased the property to Accuity, which permitted DREAM to

operate a bingo gambling facility, known as Frontier Bingo, on the property.

CBS and Bell Mere almost immediately began to disagree over issues

related to the property, and in late 2011, Bell Mere filed suit against CBS in



1 Sheriff Benison’s Motion to Strike (doc. 57) asks the Court to strike Plaintiffs’ sur-reply
(doc. 54). The Court’s Uniform Initial Order (doc. 15) did not authorize a sur-reply, and
Plaintiffs’ did not request leave of the Court to file a sur-reply. Therefore, the Court will
not consider any of the arguments made by Plaintiffs in their sur-reply. Accordingly,
Sheriff Benison’s Motion to Strike (doc. 57) is due to be granted.
2 The facts set out in this opinion are gleaned from the parties’ submissions of facts

claimed to be undisputed, their respective responses to those submissions, and the
Court’s own examination of the evidentiary record. These are the “facts” for summary
judgment purposes only. They may not be the actual facts. See Cox v. Adm'r U.S. Steel
& Carnegie Pension Fund, 17 F.3d 1386, 1400 (11th Cir. 1994). The Court is not required
to identify unreferenced evidence supporting a party’s position. As such, review is limited
to exhibits and specific portions of the exhibits specifically cited by the parties. See
Chavez v. Sec’y, Fla. Dept. of Corr., 647 F.3d 1057, 1061 (11th Cir. 2011) (“[D]istrict court
judges are not required to ferret out delectable facts buried in a massive record . . . .”)
(internal quotations omitted).

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Alabama state court. On April 17, 2012, Bell Mere filed for Chapter 11

bankruptcy. During that litigation, the bankruptcy court entered an order

judicially establishing the boundaries of Bell Mere’s easement. However, this

did not put an end to the boundary dispute.

     Over the next several years, Spencer contacted law enforcement on

multiple occasions claiming that Frontier Bingo and its patrons were

trespassing on his property. In January 2016, Gomez hired construction

workers to improve a previously constructed roadway running through the

easement. The parties dispute whether this construction was outside the

boundaries of the judicially recognized easement. On January 13, 2016,

Spencer called 911 to report that the construction workers were trespassing

on his land. Deputy Sheriff Jeffrey Grant (“Deputy Grant”) responded to the

call and spoke with both Spencer and the bulldozer operator. After speaking

with Deputy Grant, the bulldozer operator agreed to stop working on the

roadway.

     On January 18, 2016, Spencer again called 911 complaining that

Gomez had workers building a roadway within his property line. Deputy

Sheriff Charlie Davis (“Deputy Davis”) responded to that call and suggested

that the bulldozer operator stop working until the property dispute was

resolved. However, Deputy Davis did not get any further involved because


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he did not know the property boundary lines. On February 24, 2016, Sheriff

Benison responded to another call from Spencer about the roadway

construction. When Sheriff Benison arrived, he observed that Spencer, his

brother, and his son had put out cones, a bulldozer, and vehicles to block

the construction from encroaching on what Spencer claimed was his

property. He also observed that traffic was backed up on Highway 11. The

parties dispute whether the cones and vehicles were blocking the driveway

so that people could not enter or exit the bingo hall. Additionally, they dispute

whether Sheriff Benison had received a copy of the bankruptcy order that

established the boundaries of the easement so that he knew the correct

property lines. However, Spencer did measure the easement boundaries

during the incident with Sheriff Benison.

      The parties dispute whether Sheriff Benison talked with Frontier

Bingo’s operators before going to speak with Spencer about his vehicles and

cones. According to Spencer, Sheriff Benison entered and exited the bingo

hall with Defendant Gomez prior to speaking with Spencer and his family

members. When Sheriff Benison spoke with Spencer, he expressed concern

that the cones and vehicles would prevent people from being able to access

the bingo hall. He told Spencer that it created a public safety issue because

the fire department might not be able to respond to any emergencies at the


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bingo hall. Sheriff Benison went on to say: “I’ve got customers in here.

People got customers in here. You can’t block these folks.” Spencer replied

that his cones and vehicles were not blocking the road. Sheriff Benison then

spoke on the phone with Spencer’s lawyers who told him that they were

attempting to get an injunction to prevent the construction workers from

coming onto Spencer’s property. Instead of waiting on the injunction to

resolve the boundary dispute, Sheriff Benison ordered Spencer to remove

the vehicles and cones from the driveway. He also threatened to arrest

Spencer for disorderly conduct and told him that he would charge him with a

felony if he blocked the road. A state trooper who spoke with Spencer at the

scene told him that the Sheriff should not have issued the order and inserted

himself in a private boundary dispute. According to Spencer, as a result of

Sheriff Benison’s order, he stopped confronting Frontier Bingo, and it was

able to complete construction that encroached upon his property.

      Central to Plaintiffs’ claims against Sheriff Benison is their contention

that he has a personal financial interest in the success of Frontier Bingo. The

Rules and Regulations for the Operation of Bingo within Greene County,

Alabama (“Rules and Regulations”) provides that the Sheriff has exclusive

authority to license and regulate bingo halls within the county. Half of each

bingo hall’s $2,500.00 licensing fee is paid to the Greene County Sheriff’s


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Office. Moreover, in 2015, Sheriff Benison amended the Rules and

Regulations so that the Greene County Sheriff’s Office receives $110 a

month from each electronic bingo hall.

    II.     STANDARD

          Summary judgment is appropriate “if the movant shows that there is no

genuine dispute as to any material fact 3 and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). A dispute is genuine if

“the record taken as a whole could lead a rational trier of fact to find for the

nonmoving party.” Id. A genuine dispute as to a material fact exists “if the

nonmoving party has produced evidence such that a reasonable factfinder

could return a verdict in its favor.” Greenberg v. BellSouth Telecomms., Inc.,

498 F.3d 1258, 1263 (11th Cir. 2007) (quoting Waddell v. Valley Forge

Dental Assocs., 276 F.3d 1275, 1279 (11th Cir. 2001)). The trial judge should

not weigh the evidence, but determine whether there are any genuine issues

of fact that should be resolved at trial. Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 249 (1986).

          In considering a motion for summary judgment, trial courts must give

deference to the non-moving party by “view[ing] the materials presented and



3A material fact is one that “might affect the outcome of the case.” Urquilla-Diaz v.
Kaplan Univ., 780 F.3d 1039, 1049 (11th Cir. 2015).
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all factual inferences in the light most favorable to the nonmoving party.”

Animal Legal Def. Fund v. U.S. Dep’t of Agric., 789 F.3d 1206, 1213–14 (11th

Cir. 2015) (citing Adickes v. S.H. Kress & Co., 398 U.S. 144, 157 (1970)).

However, “unsubstantiated assertions alone are not enough to withstand a

motion for summary judgment.” Rollins v. TechSouth, Inc., 833 F.2d 1525,

1529 (11th Cir. 1987). Conclusory allegations and “mere scintilla of evidence

in support of the nonmoving party will not suffice to overcome a motion for

summary judgment.” Melton v. Abston, 841 F.3d 1207, 1220 (11th Cir. 2016)

(per curiam) (quoting Young v. City of Palm Bay, Fla., 358 F.3d 859, 860

(11th Cir. 2004)). In making a motion for summary judgment, “the moving

party has the burden of either negating an essential element of the

nonmoving party’s case or showing that there is no evidence to prove a fact

necessary to the nonmoving party’s case.” McGee v. Sentinel Offender

Servs., LLC, 719 F.3d 1236, 1242 (11th Cir. 2013). Although the trial courts

must use caution when granting motions for summary judgment, “[s]ummary

judgment procedure is properly regarded not as a disfavored procedural

shortcut, but rather as an integral part of the Federal Rules as a whole.”

Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986).




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   III.     DISCUSSION

            A.    SECTION 1983 CLAIMS

          Pursuant to 42 U.S.C. § 1983, Plaintiffs sued Sheriff Benison, in both

his individual and official capacity, for depriving Plaintiffs of their property and

liberty rights in violation of the Fifth and Fourteenth Amendments. Sheriff

Benison first moves for summary judgment on Count I of Plaintiffs’

Complaint, arguing that qualified immunity protects him from being sued in

his individual capacity. Government officials are provided complete

protection by qualified immunity when sued in their individual capacities, as

long as “their conduct ‘does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known.’”

Vineyard v. Wilson, 311 F.3d 1340, 1346 (11th Cir. 2002) (quoting Harlow v.

Fitzgerald, 457 U.S. 800, 818 (1982)). Qualified immunity allows government

officials to carry out the discretionary duties of their position “without the fear

of personal liability or harassing litigation, protecting from suit ‘all but the

plainly incompetent or one who is knowingly violating federal law.’” Lee v.

Ferraro, 284 F.3d 1188, 1194 (11th Cir. 2002) (citations omitted) (quoting

Willingham v. Loughnan, 261 F.3d 1178, 1187 (11th Cir. 2001)). The

Eleventh Circuit engages in a two-part analysis to determine whether a

government official is entitled to the defense of qualified immunity. “First the


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official must prove that the allegedly unconstitutional conduct occurred while

he was acting within the scope of his discretionary authority. Second, if the

official meets that burden the plaintiff must prove that the official’s conduct

violated clearly established law.” Harbert Int’l, Inc. v. James, 157 F.3d 1271,

1281 (11th Cir. 1998) (citations omitted).

         1.    Scope of Discretionary Authority

      When determining if an official’s actions were within the scope of his

discretionary authority, courts consider “whether they are of a type that fell

within the employee’s job responsibilities.” Holloman ex rel. Holloman v.

Harland, 370 F.3d 1252, 1265 (11th Cir. 2004). Further, the Court asks if the

official was “(a) performing a legitimate job-related function (that is, pursuing

a job related goal), (b) through means that were within his power to utilize.”

Id. “In applying each prong of this test, [the Court] look[s] to the general

nature of the defendant’s action, temporarily putting aside the fact that it may

have been committed for an unconstitutional purpose, in an unconstitutional

manner, to an unconstitutional extent, or under constitutionally inappropriate

circumstances.” Id. at 1266.

      Here, the constitutional injury Plaintiffs complain of concerns Sheriff

Benison’s order that Spencer remove vehicles and cones from his property,

thereby allowing Frontier Bingo to complete its construction and depriving


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Plaintiffs without due process or just compensation of their property interest

in that portion of their land. Thus, to determine whether Sheriff Benison was

acting within the scope of his discretionary authority, the Court must first ask

whether this order fell within Sheriff Benison’s job responsibilities. In general,

Alabama law provides that sheriffs have the duty to enforce court orders and

the criminal laws of the county. See Ala. Code § 36-22-3. As such, a sheriff’s

job is to act as the chief law enforcement officer for his county.

      Sheriff Benison argues that he was acting within his job responsibilities

as a law enforcement officer when he ordered Spencer to remove his

vehicles and cones because he believed that Spencer had created a

potential public safety hazard. He states that he gave the order because he

was worried that the driveway was blocked so that emergency vehicles could

not reach the bingo hall and that it was causing traffic to back up onto

Highway 11. Sheriff Benison also argues that he had the power to interfere

with Plaintiffs’ private property to ensure that people could enter and exit the

bingo hall safely. To support this assertion, he cites to cases where the police

were found to have the authority to remove vehicles from public streets and

where the government was found to have the authority to prevent protestors

from blocking the entrance to an abortion clinic. See South Dakota v.

Opperman, 428 U.S. 364, 369 (1976); Madsen v. Women’s Health Ctr., Inc.,


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512 U.S. 753, 768 (1994). However, neither of these cases address whether

it is within a sheriff’s responsibilities as a law enforcement officer to order the

removal of a private landowner’s property, while it is on that landowner’s

property, absent a court order.

      The record evidence indicates that a reasonable jury could find that

Sheriff Benison was not acting as a law enforcement officer when he ordered

Spencer to move his vehicles and cones. As Plaintiffs point out, Spencer had

not been accused of any crime and Sheriff Benison was not enforcing a court

order to eject Spencer from the property. Sheriff Benison admits that

Spencer’s dispute with Frontier Bingo was civil in nature. The actions of

Sheriff Benison’s own sheriff’s deputies also suggest that getting involved in

civil disputes is not typically the responsibility of members of the Greene

County Sheriff’s Department. Both Deputy Davis and Deputy Grant testified

that their job as sheriff’s deputies does not include sorting out boundary

disputes. Thus, when they responded to Spencer’s calls to the Sheriff’s

Department, they merely recommended that the bulldozer operator stop

construction until after the parties resolved the boundary dispute in court.

They never ordered Spencer or the bulldozer operator to take any particular

action. Moreover, it is undisputed that Trooper Minor, who was on the scene




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during Spencer’s incident with Sheriff Benison, told Spencer that sheriffs

should not insert themselves in boundary disputes. (See Doc. 44 at 15.)

      As for Sheriff Benison’s argument that he was acting due to public

safety concerns, under Plaintiffs’ version of the facts, the cones and vehicles

were not preventing people from accessing the bingo hall. Further, the matter

of ingress and egress across adjacent property is not an issue of public

safety. An emergency vehicle would simply drive around or through the traffic

cone. Thus, Sheriff Benison was not protecting those at the bingo hall but

was instead “merely attempting forcibly to resolve a civil dispute.” See

Thornton v. City of Macon, 132 F.3d 1395, 1399 (11th Cir. 1998). As such, a

reasonable jury could find that Sheriff Benison’s order to remove the cones

and vehicles fell outside his duties as a law enforcement officer. See id.

Therefore, Sheriff Benison has failed to establish that he was acting within

the scope of his discretionary authority and is not entitled to qualified

immunity at this summary judgment stage.

         2.    Constitutional Violations

      Although the Court finds that Sheriff Benison was acting outside the

scope of his discretionary authority, it will nevertheless consider whether

Plaintiffs have presented sufficient evidence of a constitutional violation to

sustain their § 1983 claims. Plaintiffs bring claims under the Due Process


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Clause of the Fourteenth Amendment and the Takings Clause. The Court

will address each in turn.

                          a. PROCEDURAL DUE PROCESS

      Plaintiffs first claim Sheriff Benison violated the Due Process Clause of

the Fourteenth Amendment by requiring Spencer to vacate his property and

move his vehicles without providing him notice or an opportunity to be heard.

A procedural due process claim requires a plaintiff to establish “(1) a

deprivation of a constitutionally-protected liberty or property interest; (2) state

action; and (3) constitutionally-inadequate process.” Catron v. City of St.

Petersburg, 658 F.3d 1260, 1266 (11th Cir. 2011) (quoting Grayden v.

Rhodes, 345 F.3d 1225, 1232 (11th Cir. 2003)). Due process typically

requires that deprivations of “life, liberty, or property be preceded by notice

and the opportunity for a hearing.” Cleveland Bd. of Educ. v. Loudermill, 470

U.S. 532, 542 (1985) (internal quotation marks omitted); see also id. (“We

have described the ‘root requirement’ of the Due Process Clause as being

‘that an individual be given an opportunity for a hearing before he is deprived

of any significant property interest.’” (quoting Boddie v. Connecticut, 401

U.S. 371, 379 (1971))).

      Plaintiffs have arguably demonstrated that the first two elements of a

procedural due process violation have been met. When assessing whether


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procedural due process applies, courts “look not to the ‘weight’ but to the

nature of the interest at stake.” Goss v. Lopez, 419 U.S. 565, 575–76 (1975)

(citing Bd. of Regents v. Roth, 408 U.S. 565, 570–71 (1972)). “[A]s long as

a property deprivation is not de minimis, its gravity is irrelevant to the

question whether account must be taken of the Due Process Clause.” Id. at

576. Here, Spencer had a substantial property interest in the continued use

of his land. See Roth, 408 U.S. 564 at 572 (identifying ownership interest in

real estate as one of the fundamental property rights protected by the

procedural due process clause). Sheriff Benison’s order that Spencer

remove the cones and vehicles from the driveway interfered with Spencer’s

constitutionally protected property interest. Indeed, Spencer asserts that he

never again challenged the construction workers ability to improve the

roadway because of Sheriff Benison’s order. This allowed Frontier Bingo to

complete its expansion of the roadway, which Spencer says encroaches

upon his land, thus permanently altering his property. Additionally, none of

the parties question whether Benison’s conduct, as Sheriff of Greene

County, constitutes “state action” for the purposes of the Due Process

Clause. As such, Plaintiffs have presented sufficient evidence that Spencer

was deprived of a constitutionally protected property interest and that there

was state action.


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      However, Sheriff Benison argues that Plaintiffs have failed to

demonstrate that there was a constitutionally inadequate process in place.

“Although the Due Process Clause generally requires notice and an

opportunity to be heard before the government seizes one’s property . . . the

Supreme Court ‘has rejected the proposition that . . . the State [must always]

provide a hearing prior to the initial deprivation of the property.’” Reams v.

Irvin, 561 F.3d 1258, 1263 (11th Cir. 2009) (emphasis in original) (internal

citation omitted) (quoting Parratt v. Taylor, 451 U.S. 527, 540–41 (1981)). If

a state’s post-deprivation procedures, such as state tort law remedies, are

adequate, “due process d[oes] not require pre-deprivation hearings where

the holding of such a hearing would be impracticable.” See Nat’l Assoc. of

Bds. of Pharmacy v. Bd. of Regents of the Univ. Sys. of Ga., 633 F.3d 1297,

1317 (11th Cir. 2011) (quoting McKinney v. Pate, 20 F.3d 1550, 1562–63

(11th Cir. 1994) (en banc)). “Pre-deprivation process is impractical ‘where a

loss of property is occasioned by a random, unauthorized act by a state

employee, rather than by an established state procedure,’ because ‘the state

cannot know when such deprivation will occur.’” Id. (quoting Hudson v.

Palmer, 468 U.S. 517, 532, 533 (1984)).

      Here, there is no evidence that Sheriff Benison was following an

established state procedure when he ordered Spencer to move the vehicles


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and cones. In fact, Plaintiffs argue that Sheriff Benison’s order was contrary

to the Greene County Sheriff’s Office’s policy that it would not insert itself

into civil matters. (See Doc. 49 at 8–9.) As such, evidence provided by

Plaintiffs that Sheriff Benison did not give Spencer notice and an opportunity

to be heard before making him vacate the property is insufficient to establish

a procedural due process violation. See Nat’l Assoc. of Bds. of Pharmacy,

633 F.3d at 1318 (“It is only when the purpose of a state procedure is to

effect the deprivation of a property interest that pre-deprivation process

becomes feasible.”).

     As Plaintiffs have not presented evidence that they were entitled to pre-

deprivation process, they will only be able to succeed on their procedural

due process claims if the post-deprivation procedures available to them

would not provide sufficient process. Failure to provide all relief available

under § 1983 does not automatically render a state’s post-deprivation

remedy inadequate. See Parratt, 451 U.S. at 544. However, to be adequate,

a state’s post-deprivation remedy “must be able to correct whatever

deficiencies exist and to provide plaintiff with whatever process is due.”

Cotton v. Jackson, 216 F.3d 1328, 1331 (11th Cir. 2000).

     Sheriff Benison argues that the Alabama State Board of Adjustment

provides Plaintiffs with an adequate post-deprivation remedy. The Board has


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jurisdiction over “[a]ll claims for damages to the person or property growing

out of any injury to the person or property by the State of Alabama, or any of

its agencies, commissions, boards, institutions or departments.” Ala. Code §

41-9-62(a)(1). However, here, Plaintiffs are not claiming that the State or any

of its agencies deprived them of their property. Instead, they claim that

Sheriff Benison, acting individually and under the color of state law,

unilaterally ordered Spencer to move the vehicles and cones. Thus, the

Board would not have jurisdiction over Plaintiffs’ claims, and it does not

provide them with a post-deprivation remedy.

      Likewise, although Alabama law provides Plaintiffs with the right to

bring trespass and private nuisance actions against Sheriff Benison, the

availability of these tort law claims do not provide Plaintiffs with an adequate

post-deprivation remedy. As the Court has previously noted, Sheriff Benison

enjoys absolute immunity from suit for any state-law claims that could be

brought against him by Plaintiffs. (See Doc. 33 at 7–9.) To be sure, the

availability of traditional governmental immunity in and of itself does not

render a state’s post-deprivation remedy inadequate. See Rittenhouse v.

Dekalb Cty., 764 F.2d 1451, 1458 (11th Cir. 1985). (finding the fact that the

director of a county sewer system was immune from a negligence suit arising

from his handling of an emergency situation did not render Georgia’s tort law


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remedy inadequate). “The constitutional question . . . is whether the state

procedures, in light of the immunity, provide the process required under the

Fourteenth Amendment.” See id.

      Here, it is doubtful that Alabama’s tort law remedies would provide

adequate post-deprivation process because bringing them would be futile.

Johnston v. Borders, 724 F. App’x. 762 (11th Cir. 2018), is instructive. In

Johnston, a Florida sheriff made several statements to the news media

regarding a recently fired employee’s involvement with the euthanization of

several dogs at a local animal shelter. Id. at 764–65. After publishing these

statements, the sheriff did not provide the employee with the opportunity to

attend a name-clearing hearing as required by the procedural due process

clause. Id. at 767. The court found that a defamation action in state court

would not provide the plaintiff with an adequate post-deprivation remedy. Id.

at 768. The court reasoned that because the sheriff enjoyed an absolute

privilege for statements related to his official duties that any defamation suit

brought against him would be futile. Id. at 767. Thus, the ability to file a

defamation suit did not satisfy the requirements of procedural due process.

See id. at 768. Here, any state tort action brought against Sheriff Benison

would be just as futile as the hypothetical suit in Johnston because Plaintiffs

would not be able to recover any monetary or injunctive relief from the suit.


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This falls far short of what procedural due process requires. Therefore,

Alabama law does not provide Plaintiffs with an adequate post-deprivation

remedy, and Sheriff Benison is not entitled to summary judgment on the

procedural due process claim.

                            b. TAKINGS CLAUSE 4

       Plaintiffs also assert that Sheriff Benison’s actions violated their rights

under the Takings Clause. The Fifth Amendment’s Takings Clause, as

applied to the states through the Fourteenth Amendment, provides that

“private property [shall not] be taken for public use, without just

compensation.” U.S. Const. amend. V. The Takings Clause is typically

implicated in two scenarios. First, it applies to situations where the

government physically takes or occupies private property. Yee v. City of

Escondido, 503 U.S. 519, 522 (1992). Next, it applies when the government

regulates private property to such an extent that it “deprives the owner of the


4 There was some initial confusion among the parties as to the exact nature of Plaintiffs’
Fifth Amendment claim. Sheriff Benison believed Plaintiffs were alleging a violation of
the Fifth Amendment’s Due Process Clause, and moved for summary judgment on that
claim on the ground that Plaintiffs could only bring such a claim against federal officials.
(Doc. 44 at 27.) Plaintiffs make clear in their Response in Opposition that they were
actually stating a claim under the Fifth Amendment’s Takings Clause. (Doc. 49 at 19–
20.) The Complaint states that “Defendant Sheriff deprived Plaintiffs’ of their property
rights without due process which violated the Plaintiffs’ Fifth and Fourteenth
Amendment rights.” (Compl. ¶ 45.) Plaintiffs also alleged that Sheriff Benison
“proximately caused the deprivation of Plaintiffs’ property . . . which resulted in the
taking and disturbance of Plaintiffs’ soil and timber and denied Plaintiffs the use of and
access to their property.” (Compl. ¶ 48.) Although the Complaint could have been
clearer, the Court finds that Plaintiffs sufficiently pleaded a Takings Clause claim.
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economic use of the property.” Id. at 523. Here, Plaintiffs argue that Sheriff

Benison’s order constituted a physical taking.

      Sheriff Benison first argues that he is entitled to summary judgment on

Plaintiffs’ takings claim against him in his individual capacity because these

types of claims cannot be brought against individual government employees.

Several courts have concluded that an individual officer cannot be liable in

his individual capacity for a taking. See Vicory v. Walton, 730 F.2d 466, 467

(6th Cir. 1984) (finding that a sheriff and prosecutor’s seizure of evidence

could not constitute a taking because the Takings Clause only applies to

government bodies with the power of eminent domain); see also Langdon v.

Swain, 29 F. App’x. 171, 172 (4th Cir. 2002) (“[T]akings actions sound

against government entities rather than individual state employees in their

individual capacities.”). However, the Eleventh Circuit has left open the

possibility that plaintiffs may bring a Fifth Amendment Takings Clause claim

against individual government officials alleged to have trespassed on their

land. See Garvie v. City of Ft. Walton Beach, 366 F.3d 1186, 1189 n.2 (11th

Cir. 2004). Moreover, in the past, the Eleventh Circuit has considered takings

claims brought against government officials in their individual capacities

without addressing whether these claims were improperly brought. See, e.g.,

Harbert Int’l., 157 F.3d 1271. Therefore, the Court concludes that within the


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Eleventh Circuit a takings claim may be brought against a government official

in his individual capacity.

      Sheriff Benison also argues that Plaintiffs’ takings claim fails because

they did not first seek compensation in state court. In Williamson County

Regional Planning Commission v. Hamilton Bank of Johnson City, the

Supreme Court held that the just compensation requirement of the Takings

Clause prevents plaintiffs from bringing a regulatory takings claim in federal

court without first seeking compensation through available state court

procedures. 473 U.S. 172, 195 (1985). While neither the Eleventh Circuit nor

the Supreme Court have addressed whether this requirement extends to

physical takings claims, multiple courts have found that it does. See, e.g.,

Kurtz v. Verizon N.Y., Inc., 758 F.3d 506, 513–14 (2d Cir. 2014); Severance

v. Patterson, 586 F.3d 490, 497 (5th Cir. 2009); Peters v. Village of Clifton,

498 F.3d 727, 733 (7th Cir. 2007).

      However, the rationale behind Williamson County is inapplicable to this

case. In Williamson County, the Court noted that the Takings Clause is

usually not violated until just compensation has been denied because “[t]he

Fifth Amendment does not proscribe the taking of property; it proscribes

taking without just compensation.” Williamson Cty., 473 U.S. at 194. An

exception to this rule is that purely private takings automatically violate the


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Takings Clause because for a taking to be valid it must be serve a public

purpose. See Kelo v. City of New London, Conn., 545 U.S. 469, 477 (2005).

Here, Plaintiffs are arguing that Sheriff Benison took their property for a

private rather than a public purpose. They assert that he appropriated their

property so that Frontier Bingo could construct an improved roadway, which

furthers a purely private interest. As these types of takings are

unconstitutional regardless of whether compensation is paid, state

proceedings would be unnecessary to determine whether a constitutional

violation occurred. See Rumber v. District of Columbia, 487 F.3d 941, 944

(D.C. Cir. 2007) (finding that Williamson County did not support requiring

plaintiffs bringing public use claims to first bring their claims in state court).

Thus, Williamson County’s rationale does not apply, and Plaintiffs were not

required to pursue state court remedies before bringing their takings claims.

      The Court must finally determine whether Plaintiffs have presented

sufficient evidence to establish a Takings Clause violation. “No magic

formula enables a court to judge, in every case, whether a government

interference with property is a taking.” Ark. Game & Fish Comm’n v. United

States, 568 U.S. 23, 31 (2012). However, the Supreme Court has drawn

some bright line rules. One such rule is that a physical invasion is considered

a per se taking because the “power to exclude has traditionally been


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considered one of the most treasured strands in an owner’s bundle of

property rights.” Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S.

419, 435 (1982). A physical invasion occurs not only when there is direct

government appropriation of property but also when “the government gives

third parties ‘a permanent and continuous right to pass to and fro, so that the

real property may be continuously traversed.’” Chmielewski v. City of St. Pete

Beach, 890 F.3d 942, 949 (11th Cir. 2018) (quoting Nollan v. Cal. Coastal

Comm’n, 483 U.S. 825, 832 (1987)).

      Here, Plaintiffs have presented sufficient evidence that Sheriff

Benison’s order gave Frontier Bingo’s customers a “continuous right to pass

to and fro” on what they claim is a portion of their property. Although there is

no evidence that Sheriff Benison ever returned to enforce his order, Plaintiffs

have shown that after Spencer’s confrontation with the Sheriff he never again

questioned the ability of Frontier Bingo to construct the roadway. Moreover,

the record is clear that Frontier Bingo was able to complete its construction

within the disputed boundary line. Accordingly, its customers have been able

to utilize the roadway leading up to the bingo hall. Thus, a reasonable jury

could find that Sheriff Benison’s order resulted in a physical taking.

Therefore, Sheriff Benison is not entitled to summary judgment on the

Takings Clause claim.


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      In sum, Plaintiffs have presented sufficient evidence that a reasonable

jury could find that Sheriff Benison violated their rights under both the Due

Process Clause of the Fourteenth Amendment and the Takings Clause.

Therefore, Sheriff Benison’s motion for summary judgment with respect to

Count I is due to be denied.

         B.    CONSPIRACY TO COMMIT § 1983 VIOLATION

      Sheriff Benison next moves for summary judgment on Plaintiffs’ claim

that he conspired with the non-governmental Defendants to commit a § 1983

violation. A plaintiff states a § 1983 conspiracy claim by “showing a

conspiracy existed that resulted in the actual denial of some underlying

constitutional right.” Grider v. City of Auburn, Ala., 618 F.3d 1240, 1260 (11th

Cir. 2010). A conspiracy exists if conspirators “reached an understanding to

deny the plaintiff’s rights.” Myers v. Bowman, 713 F.3d 1319, 1332 (11th Cir.

2013) (quoting Hadley v. Gutierrez, 526 F.3d 1324, 1332 (11th Cir. 2008)).

In this regard, “the linchpin for conspiracy is agreement, which presupposes

communication.” Bailey v. Bd. of Cty. Corn’rs of Alachua Cty., Fla., 956 F.2d

1112, 1122 (11th Cir. 1992). The plaintiff need not show a “smoking gun” to

show a conspiracy but must provide “some evidence of agreement between

the defendants.” Rowe v. City of Fort Lauderdale, 279 F.3d 1271, 1283–84

(11th Cir. 2002). Plaintiffs may prove a conspiracy through circumstantial


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evidence. Am. Fed’n of Labor and Congress of Indus. Orgs. v. City of Miami,

Fla., 637 F.3d 1178, 1191 (11th Cir. 2011).

      The Court finds that Plaintiffs have presented sufficient evidence for a

reasonable jury to infer that Sheriff Benison reached an agreement to violate

Plaintiffs’ constitutional rights. Plaintiffs first argue that Sheriff Benison’s

statement that “his customers” were in the bingo hall supports a finding of

conspiracy because it shows that he recognized a pecuniary interest in the

bingo operation. Sheriff Benison’s entire statement was: “I got customers in

here. People got customers in here. You can’t block these folks.” (Doc. 45-

21 at 4.) Thus, this statement supports the conclusion that he felt that he had

a financial interest in the bingo operation. To further support their argument,

Plaintiffs point out that Greene County’s Rules and Regulations require bingo

operators to pay the Sheriff’s Department certain fees, such as the $110

monthly fee. Taken together, these facts suggest that Sheriff Benison had

an incentive to support Greene County’s bingo halls so as to keep them

operating and that he had a pecuniary interest in ensuring that Frontier Bingo

maintained its customer base.

      Plaintiffs also point to evidence that Sheriff Benison had knowledge

that Frontier Bingo expanded operations beyond the judicially determined

easement as providing circumstantial evidence of a conspiracy. Viewing this


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evidence in the light most favorable to the Plaintiffs, Sheriff Benison knew of

the boundaries of the easement and that Frontier Bingo and its construction

workers were trespassing on Plaintiffs’ property. He then knowingly allowed

the construction workers to continue to trespass on Plaintiffs’ land by

ordering Spencer to remove his vehicles and cones. This evidence is

sufficient to create an inference that Sheriff Benison had a motive and took

actions to “take” Plaintiffs’ land.

      Nonetheless, Plaintiffs must also present some evidence that Sheriff

Benison reached an agreement with Frontier Bingo and its operators to

deprive Plaintiffs of their constitutional rights. Plaintiffs do so by providing

evidence that prior to ordering Spencer to vacate the property Sheriff

Benison had a conversation with Defendant Gomez to discuss the boundary

dispute. As evidence that this conversation took place, Plaintiffs rely on

Spencer’s deposition testimony that he saw Sheriff Benison and Defendant

Gomez enter and exit the bingo hall together on the day of Sheriff Benison’s

confrontation with Spencer. Spencer admits that he cannot testify to the

substance of this communication as he did not hear what was said between

Sheriff Benison and Defendant Gomez. (See Doc. 49-2 at 29.) Alone, this

likely would not give rise to an inference that Sheriff Benison and Defendant

Gomez had reached an understanding to deprive Plaintiffs of their


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constitutional rights. Nevertheless, evidence of this conversation combined

with the evidence that soon after Sheriff Benison took actions in support of

Frontier Bingo could give rise to an inference that there was an agreement

to violate Plaintiffs’ rights. Thus, Sheriff Benison’s motion for summary

judgment on Plaintiffs’ conspiracy claim is due to be denied.

    IV.      CONCLUSION 5

          For the reasons stated above, Sheriff Benison’s Motion for Summary

Judgment (doc. 43) is due to be denied; his Motion for Reimbursement of

Fees & Costs is due to be denied (doc. 47); and his Motion to Strike (doc.

57) is due to be granted. An order consistent with this Memorandum of

Opinion will be entered contemporaneously herewith.




5Sheriff Benison has also moved for costs and attorney’s fees pursuant to 42 U.S.C. §
1988. (Doc. 47.) This Section provides:

          In any action or proceeding to enforce a provision of section[] . . . 1983 . . .
          the court, in its discretion, may allow the prevailing party, other than the
          United States, a reasonable attorney’s fee as part of the costs, except that
          in any action brought against a judicial officer for an act or omission taken
          in such officer’s judicial capacity such officer shall not be held liable for
          any costs, including attorney’s fees, unless such action was clearly in
          excess of such officer’s jurisdiction.

42 U.S.C. § 1988(b). As Sheriff Benison has not been found to be a prevailing party, his
request for attorney’s fees under Section 1988 is due to be denied.
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DONE and ORDERED on October 9, 2018.



                                       _____________________________
                                               L. Scott Coogler
                                          United States District Judge
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